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                     EXHIBIT A

                    Interim Order
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                                           Chapter 11
    In re:
                                                                           Case No. 23-10852 ([___])
                                   1
    iMedia Brands, Inc., et al.,
                                                                           (Jointly Administered)
                                                Debtors.
                                                                           Ref. Docket No. ___

                         INTERIM ORDER (I) AUTHORIZING
            DEBTORS TO PAY CERTAIN PREPETITION CLAIMS OF LIEN
           CLAIMANTS AND RELATED OBLIGATIONS, (II) AUTHORIZING
          DEBTORS TO PAY CERTAIN PREPETITION CLAIMS OF CERTAIN
        SECTION 503(b)(9) CLAIMANTS, AND (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for the entry of an interim order (the “Interim Order”) (i) authorizing

the Debtors to pay, in the ordinary course of business, certain prepetition claims of third-party

servicers or carriers, including shippers, warehousemen, and other lienholders, who are in current

possession of the Debtors’ property and who have or may assert a lien pursuant to applicable law

(the “Lien Claimants,” whose claims shall be identified herein collectively as the “Lien

Claims”) and related obligations with respect to customs duties and import charges (together with

the Lien Claims, the “Lien and Import Claims”), (ii) authorizing the Debtors to pay, in their

discretion, certain Claimants (the “Section 503(b)(9) Claimants”) on account of goods received by

the Debtors in the ordinary course of business within the twenty (20) days immediately preceding




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
      Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
      (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
      FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
      Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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the Petition Date (the “Section 503(b)(9) Claims”), and (iii) granting related relief; and upon

consideration of the Motion and all pleadings related thereto, including the First Day Declaration;

and due and proper notice of the Motion having been given; and no other or further notice of the

Motion being required; and the Court having jurisdiction to consider the Motion in accordance

with 28 U.S.C. §§ 157 and 1334; and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware dated as of February 29, 2012; and this

being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having determined that

it may enter a final order consistent with Article III of the United States Constitution; and venue

of this proceeding and the Motion being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and after

due deliberation and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.       The Motion is granted on an interim basis to the extent set forth below.

         2.       The final hearing on the Motion (the “Final Hearing”) is set for ______________

__, 2023 at __:__ a.m./p.m. (prevailing Eastern Time). Any objections or responses to the entry

of the proposed Final Order shall be filed on or before 4:00 p.m. (prevailing Eastern Time) on

_______ ___, 2023 (the “Objection Deadline”), and shall be served on the following parties or

their respective counsel on or before the Objection Deadline: (a) proposed co-counsel to the

Debtors, Ropes & Gray LLP, 1211 Avenue of the Americas, New York, NY 10036 (Attn: Ryan

Preston Dahl, email: ryan.dahl@ropesgray.com, and Cristine Pirro Schwarzman, email:

cristine.schwarzman@ropesgray.com); Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor,

Chicago, IL 60606 (Attn: Stephen L. Iacovo, email: stephen.iacovo@roepsgray.com); and

Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801

(Attn:        Laura Davis Jones, email: ljones@pszjlaw.com and Timothy P. Cairns, email:




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tcairns@pszjlaw.com); (b) the United States Trustee for the District of Delaware, 844 N. King

Street, Room 2207, Wilmington, DE 19801 (Attn: Richard L. Schepacarter, email:

richard.schepacarter@usdoj.gov); and (c) counsel for any statutory committee appointed in these

chapter 11 cases. If no objections or responses are filed and served by the Objection Deadline, the

Court may enter the Final Order without further notice or hearing.

       3.      Until the entry of a final order, the Debtors are authorized, in their discretion, to

pay, honor or otherwise satisfy Lien and Import Claims in the ordinary course of their business up

to the aggregate Lienholder Claims Cap amount of $1,700,000.             The Debtors are further

authorized, in their discretion, to pay Section 503(b)(9) Claims in an amount not to exceed

$500,000 absent further order of this Court. Nothing in this paragraph shall be construed as

requiring the Debtors to make a payment to a particular creditor or claimant. The Debtors shall

provide a copy of this Order to any Lien Claimant and Section 503(b)(9) Claimant to whom a

payment is made pursuant to this Order.

       4.      The Debtors are authorized to require that, as a condition to any Lien Claimant

receiving any payment under this Interim Order, a payee maintain or agree to the Customary Trade

Terms. If the Debtors have determined to impose such conditions on a payee, and after such payee

receives a payment under this Interim Order it ceases to provide the Customary Trade Terms, then

the Debtors may (a) seek a Court order deeming such payment an avoidable postpetition transfer

of property pursuant to section 549 of the Bankruptcy Code and, upon recovery by the Debtors,

any prepetition claim of such Lien Claimant shall be reinstated as if the payment had not been

made or (b) deem such payment to apply instead to any postpetition amount that may be owing to

such payee, and the Lien Claimant will be required to repay to the Debtors such paid amounts that

exceed the postpetition obligations then outstanding, without the right of any setoffs, claims,




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provisions for payment of any claims, or otherwise. Nothing in this paragraph shall be construed

as requiring the Debtors to make a payment to a particular creditor or claimant.

       5.      The Debtors shall maintain a matrix summarizing (a) the name of each Lien

Claimant paid, (b) the amount paid to each Lien Claimant on account of its claim(s), and (c) the

type of goods or services provided by that Lien Claimant.

       6.      Upon the Debtors’ payment of the Lien and Import Claims, any lien securing such

claim shall be immediately released, void, and of no further force and effect, without further action

by the Debtors.

       7.      Notwithstanding the relief granted in this Interim Order and any payment made or

actions taken pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an

admission as to the amount of, basis for, priority of, or validity of any claim against the Debtors

under the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’

or any other party in interest’s right to dispute any claim; (c) a promise or requirement to pay any

particular claim; (d) an implication or admission that any particular claim is of a type specified or

defined in this Interim Order or the Motion; (e) a request or authorization to assume, adopt, or

reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code or an

admission that such contract or lease is subject to assumption or rejection; (f) an admission as to

the validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; or (g) a waiver of any claims or causes of action

which may exist against any entity under the Bankruptcy Code or any other applicable law.

       8.      Nothing herein shall prejudice the Debtors’ rights to request additional authority to

pay Lien and Import Claims.

       9.      The requirements of Bankruptcy Rule 6003(b) are satisfied.




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       10.     Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Interim Order shall be effective and enforceable immediately upon its entry.

       11.     Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied by such notice.

       12.     The Debtors are authorized to take any and all actions necessary to effectuate the

relief granted herein.

       13.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Interim Order.




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